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                                         UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                        OFFICE OF THE CLERK
                                                  U.S. COURTHOUSE, LOBBY LEVEL
                                                        700 STEWART STREET
                                                   SEATTLE, WASHINGTON 98101
                                                            (206) 370-8400

   WILLIAM M. MCCOOL                                                                           LORI LANDIS
  District Court Executive                                                                   Chief Deputy Clerk
       Clerk of Court




                                   INSTRUCTIONS FOR COMPLETION OF
                             APPLICATION FOR LEAVE TO APPEAR PRO HAC VICE

         Pursuant to LCR 83.1(d) – Permission to Participate in a Particular Case

         PDF Reader such as Adobe Acrobat or similar software is required for filing.

         Pro Hac Vice Attorney Applicant:

              •   Obtain local counsel (see local counsel requirements below).

              •   Complete the applicant portion of the Application for Leave to Appear Pro Hac Vice,
                  which includes the Electronic Case Filing (ECF) Agreement and agree that said
                  applicant knows and will comply with all applicable local rules, which includes
                  knowing that local counsel must sign all filings.

              •   Upon completion of Pro Hac Vice applicant’s portion, route to local counsel who
                  completes the Statement of Local Counsel section of the application, electronically
                  files the completed Application for Leave to Appear Pro Hac Vice and pays the $231
                  fee.

              •   Register for access to the Western District of Washington through pacer.gov as
                  directed on the Pro Hac Vice page (see Pro Hac Vice Application Guide).

              •   Note: A Certificate of Good Standing is not required for Pro Hac Vice appearance in
                  the Western District of Washington.


         Local Counsel:

              •   Must be admitted to practice before this Court.

              •   Have a physical office within the geographical boundaries of the Western District of
                  Washington.

              •   Be a party to the case or have filed a Notice of Appearance in the same case as the
                  Pro Hac Vice applicant wants to represent.

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    •   Complete the Statement of Local Counsel, which includes the condition that local
        counsel will agree to sign all filings and be prepared to handle the matter, including
        the trial, in the event the applicant is unable to be present on any date scheduled by
        the court, pursuant to LCR 83.1(d).

    •   Electronically file the completed application (either Civil or Criminal), under Other
        Documents, then select Application for Leave to Appear Pro Hac Vice. The
        system will prompt you to attach the saved PDF and pay the required $231 fee on-
        line via Pay.gov, using a debit or credit card. Complete the pay.gov screens and
        follow all prompts until the Application for Leave to Appear Pro Hac Vice is filed, and
        confirmation is received.

The Court:

    •   The court will review applications and upon approval docket an Order in the case.

Questions regarding Pro Hac Vice applications:

        Dana Scarp 206-370-8862
        WAWD_Admissions@wawd.uscourts.gov.

Questions regarding Electronic Case Filing (ECF)

        ECF Help Desk 1-866-323-9293




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                                                 United States District Court
                                                Western District of Washington




BRUCE BECKER,                                                                  Case Number: 3:20-CV-05221-BHS

 Plaintiff(s)                                                                  APPLICATION FOR LEAVE TO APPEAR
                                                                               PRO HAC VICE
 V.

NOVARTIS PHARMACEUTICALS
CORPORATION,

 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Donald R. McMinn                             hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Novartis Pharmaceuticals Corporation


The particular need for my appearance and participation is:
Novartis Pharmaceuticals Corporation has a particular need for Donald R. McMinn's representation in this matter. He is responsible for the legal
representation of the Defendant in similar matters pending in several jurisdictions throughout the United States. The Defendant seeks to utilize the
benefit of its current association and technical legal expertise in this action. The Defendant will be prejudiced if he is not permitted to appear in this
case because it will have lost the benefit of the knowledge, information, and expertise it has obtained from similar litigation.




I, Donald R. McMinn                                            understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.


                                                                                                     Donald R. McMinn
Date: May        29, 2020                                      Signature of Applicant: s/


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Pro Hac Vice Attorney

Applicant's Name:                 Donald R. McMinn
Law Firm Name:                    Hollingsworth LLP
Street Address 1:                 1350 I Street, N.W.
Address Line 2:

City: Washington                                      State: D.C.           Zip:   20005
Phone Number w/ Area Code (202) 898-5855 Bar #                            426894             State   D.C.
Primary E-mail Address: DMcMinn@hollingsworthllp.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:



                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Donald R. McMinn                                         is unable to be present upon any date
assigned by the court.
                                                                     Donald R. McMinn
Date: May      29, 2020           Signature of Local Counsel: s/

Local Counsel's Name:             Jennifer L. Campbell
Law Firm Name:                    Schwabe, Williamson & Wyatt, P.C.
Street Address 1:                 1420 5th Avenue, Suite 3400
Address Line 2:

City: Seattle                                         State: WA             Zip:   98101
Phone Number w/ Area Code (206)              622-1711             Bar #   31703




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                               Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.

               May 29, 2020                           Donald R. McMinn
 Date Signed                        Signature s/
                                                      (Pro Hac Vice applicant name)




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